@ase 2:04-cv-02851-.]DB-dkv Document 16 Filed 06/16/05 Page 1 of 4 Page|D 25

IN THE UNITEI) sTATEs DISTRICT coUR'T§ "- '- /6173'-' 1~`~*‘3‘
FoR THE wESTERN DISTRICT oF TENNESSEE

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PEGGY WELSHANS WILLIAMSON and ) §§ W c <::- m MEMPH1S
vANEssA WELSHANS, )
Pla,inriffs, §
v. § Case No. 04-2851-B V
AETNA LIFE INSURANCE Co., i
Defendant. §

 

ORDER GRANI`ING JOINT MOTION TO EXTEND DISCOVERY

 

This cause came to be heard upon the Joint Motion to Extend Disc-overy. Based upon the
parties’ Motion, Mernorandum in Support, and the record as a whole, this Court finds that the
Motion is Well-taken and should be granted.

IT IS, THEREFORE, ORDERED, ADIUDGED and DECREED that:

l. The discovery deadline Set forth in the Scheduling Order is hereby extended 30
days, to and including Friday, July 15, 2005;

2. The deadline for filing dispositive motions, is extended to and including Monday,
August 15, 2005;

3. All other dates established by the Scheduling Order and by the Notice of Setting
previously served in this matter, including the dates for the submission of the joint pretrial order,
the conduct of the pretrial conference, and the trial in this matter, shall remain as currently

scheduled

This document entered on 319 docket sheet in compliance
with R'u!e 58 and/cr 79{3) FHCP on ' '

Case 2:O4-cv-O2851-.]DB-dkv Document 16 Filed 06/16/05 Page 2 of 4 Page|D 26

lT IS SO ORDERED.

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Date: Q,£¢/u_¢.- /@, ¢?W~S-.

 

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Notice of Distribution

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Honorable .1. Breen
US DISTRICT COURT

